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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X

ANAS OSAMA IBRAHIM ABDIN,

                           Plaintiff,
                                                                   No. 1:18-cv-07543-LGS
                 v.

CBS BROADCASTING, INC and/or CBS CORP.                             Hon. Loma G. Schofield
and/or CBS ALL ACCESS, and/or CBS
INTERACTIVE Netflix, INC.,

                           Defendants.

                          ----------------------------------- X




                MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                MOTION TO DISMISS THE THIRD AMENDED COMPLAINT



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                                                              and Netflix, Inc.
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       Defendants CBS Broadcasting Inc., CBS Corp., CBS Interactive Inc., CBS All Access1

(collectively, “CBS”) and Netflix, Inc. (“Netflix”) (collectively, “Defendants”) respectfully submit

this memorandum of law in support of their motion, pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss

the Third Amended Complaint (“TAC”) of Plaintiff Anas Osama Ibrahim Abdin (“Plaintiff’) for

failure to state a claim upon which relief may be granted.

                                  PRELIMINARY STATEMENT

       Tardigrades are near-indestructible microscopic creatures that exist in real life, and have

been a source of public fascination in the scientific and science fiction communities since a 2007

experimental discovery that tardigrades have the unique ability to survive unprotected in space. As

with many other works following that discovery, Defendants incorporated a tardigrade-like creature

in their television series Star Trek: Discovery (^‘Discovery”), the latest installment in the storied Star

Trek franchise. Plaintiff likewise incorporated a tardigrade in his unreleased video game concept

Tardigrades, most prominently (and almost exclusively), in a 13-second video clip he first posted to

the Internet in July 2017 just two months before Discovery first aired. By this action, Plaintiff

claims that Defendants have infringed his work based on the frivolous premise that he owns an

exclusive monopoly on the right to create space-based fictional works that depict enlarged

tardigrades traveling in space.    Relying on this premise, and a handful of selectively plucked

“similarities” in the approximately 11 hours of Discovery's first season, Plaintiff has asserted three

claims for copyright infringement (seeking different remedies) and a common-law claim for an

accounting. Each of these claims fails completely, and should be dismissed with prejudice.

       First Plaintiffs copyright claims fail as a matter of law because Discovery is not

substantially similar to any protectable elements of Plaintiffs works.             Indeed, the primary

“similarities” that exist upon a comparison of the parties’ works are features that exist in real-life

       1 Although CBS All Access is named as a Defendant in the caption, it is not a legal entity
and no allegations are asserted against it in the TAC.
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tardigrades that are not original to Plaintiff, and that are not protectable at all. Once these features

are removed from the analysis, the only remaining similarities between the parties’ works are that

both tardigrades are enlarged from their microscopic size and are able to travel unprotected in space

— concepts that flow naturally and predictably from the basic idea of including a space-resistant

tardigrade in a space-based fictional work, and that therefore constitutes classic scenes a faire that

enjoy no copyright protection. Indeed, these commonalities are not original to Plaintiff either, as

numerous works predating his have done the very same thing with tardigrades. The only other

similarities Plaintiff identifies (or that exist) are random, scattershot and trivial similarities that

courts routinely reject in the substantial similarity analysis, and that cannot establish substantial

similarity as a matter of law.

        Second. Plaintiffs copyright claims against Netflix, Discovery's international distributor,

are independently barred because Plaintiff does not allege any predicate and infringing act occurring

in the United States, as is necessary for the Court to exercise jurisdiction over extraterritorial

copyright infringement.

       Third. Plaintiffs claim for attorneys’ fees pursuant to the Copyright Act fail for the

additional and independent reason that statutory fees are available where the alleged infringement

commenced before the effective date of copyright registration. Here, Plaintiffs sole registration has

a June 28, 2018 effective date (TAC, Ex. A), well after the allegedly infringing season of Discovery

first aired, and concluded.

       Fourth, and finally, Plaintiffs common law claim for an accounting fails for two separate

reasons: (1) it is based solely on Defendants’ alleged copyright infringements, and is thus

preempted; and (2) Plaintiff does not, and cannot, allege the fiduciary relationship between him and

Defendants that is a necessary element to maintain a claim for an accounting under New York law.




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       Plaintiff has represented to the Court that he will not seek further leave to amend the

complaint (already in its fourth iteration) in response to the instant motion. (DE 45 at 5; 1/8/19 Tr.

(DE 52) at 15:14-22). In any event, no amount of fact-finding or further amendment can change the

content of the subject works, nor alter the conclusion that each of Plaintiff s claims is foreclosed as

a matter of law. Accordingly, the TAC should be dismissed in its entirety, with prejudice.

                                    STATEMENT OF FACTS

       The facts set forth herein are taken from the allegations; materials referenced and/or relied

upon in the TAC, including the works at issue; as well as publicly available materials of which

judicial notice may be taken.2 Documents and materials relevant to this motion that the Court may

properly consider are annexed to the accompanying Declaration of Wook Hwang (“Hwang Deck”).




       2 On a motion to dismiss a copyright claim, the law in this Circuit is settled that the Court
can and should review the parties’ works to resolve the issue of substantial similarity as a matter of
law. See, e.g., Peter F. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir.
2010) (on motions to dismiss “[i]n copyright infringement actions, the works themselves supersede
and control contrary descriptions of them, including any contrary allegations, conclusions or
descriptions of the works contained in the pleadings”) (citations and quotation marks omitted); Kaye
v. Cartoon Network, Inc., 297 F. Supp. 3d 362, 366 (S.D.N.Y. 2017) (Schofield, J.); Williams v.
A&E TV Networks, 122 F. Supp. 3d 157, 160 (S.D.N.Y. 2015).
         Additionally, on a motion to dismiss, the Court may also consider materials “of which
judicial notice may be taken,” Tarshis v. Riese Org., 211 F.3d 30, 39 (2d Cir. 2000), including
publicly available materials on the Internet showing, in this case, that the concept of tardigrades in
space predates Plaintiffs game concept and is thus not original to his work. See, e.g., Twentieth
Century Fox Film Corp. v. Marvel Enters., 155 F. Supp. 2d 1, 41 & n.71 (S.D.N.Y. 2001) (on
motion to dismiss, taking judicial notice of prior works showing that plaintiffs plot scenario “is
common to fiction in general and science fictional works in particular”), aff’d in part, rev’d in part
on other grounds, 211 F.3d 253 (2d Cir. 2002); Gal v. Viacom Inti, Inc., 518 F. Supp. 2d 526, 546-
47 (S.D.N.Y. 2007) (taking judicial notice of third-party novels to determine stock elements of the
thriller genre); Twentieth Century Fox Film Corp. v. Marvel Enters., 220 F. Supp. 2d 289, 296 n.9
(S.D.N.Y. 2002) (taking judicial notice of websites on motion to dismiss); Magnoni v. Smith &
Laquercia, 483 F. App'x 613, 616 (2d Cir. 2012) (explaining that District Court properly took
judicial notice of websites).



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I.     TARDIGRADES’ UNIQUE AND WELL-KNOWN ABILITY TO SURVIVE IN
       SPACE

       Tardigrades (commonly known as “water bears”) are near-microscopic animals discovered

in the 18th century known for their ability to survive in Earth’s most inhospitable environments and,

indeed, in space. As is relevant here, tardigrades have been discussed in the scientific literature for

their unique ability to survive unprotected in space since at least 2007, when Swedish and German

scientists launched the Tardigrades in Space (TARDIS) project to study the effects of space

radiation exposure on tardigrades aboard the European Space Agency’s FOTON-M3 mission.3

       Since that time — well before Plaintiff alleges to have first posted his game materials onto

the Internet in May 2014 (TAC ^ 9) — the concept of tardigrades in space (and traveling in space)

has been explored and discussed extensively within the scientific community. For example, in

2009, the Russian Federal Space Agency set out to carry the Living Interplanetary Flight

Experiment (LIFE) to take samples of Earth life, including tardigrades, to the innermost moon of

Mars.4 In May 2011, tardigrades were carried aboard the NASA space shuttle Endeavor for further

space-based experimentation by the Italian Space Agency, as discussed in a contemporaneous BBC

article that includes the following image of a tardigrade:5




         3 See K. Ingemar Jonsson et ak, Tardigrades survive exposure to space in low Earth orbit,
18         Current      Biology       17       (Sept.      9,      2008)        (available     at
https://www.sciencedirect.com/science/article/pii/S0960982208008051) (Hwang Deck ^ 2, Ex. 1);
http://tardigradesinspace.blogspot.com/ (discussing TARDIS program and linking to relevant
articles from 2007-2009) (Hwang Deck 1} 3, Ex. 2); Joseph Stromberg, How Does the Tiny
Waterbear Survive in Outer Space?, Smithsonian Magazine (Sept. 11, 2012) (available at
https://www.smithsonianmag.com/science-nature/how-does-the-tinv-waterbear-survive-in-outer-
space-30891298/) (Hwang Deck ^ 4, Ex. 3).
       4 See JR Minkel, Phobos-Grimt Probe to Put Microbial Life in Mars Orbit, Scientific
American (Sept. 1, 2009) (available at https://www.scientificamerican.com/article/phobos-grunt-
mars/#googDisableSvnc) (Hwang Deck U 5, Ex. 4).
         5 See Emma Brennand, Tardigrades: Water Bears in Space, BBC (May 17, 2011) (available
at http://www.bbc.co.uk/nature/12855775) (Hwang Deck ^ 5, Ex. 4).

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A simple Internet search for “tardigrades” reveals dozens, if not hundreds, of articles concerning

tardigrades’ ability to survive in space.6

        The fascination with tardigrades has extended beyond the scientific community to works of

fiction (and layperson non-fiction), including numerous examples that predate Plaintiffs

Tardigrades game concept. Among them:

        •    Tony DiTerlizzi’s 2010 book titled The Search for WondLa, an inter-planetary children’s
             tale about aliens and foreign lands, features a character named Otto, an enlarged
             tardigrade described as “gargantuan” and “behemoth,” and with a brethren herd of “giant
             tardigrades” described as “[l]arge glowing life-forms” that are “carried by strange and
             wondrous currents.” (See Hwang Deck ^ 6, Ex. 5).

        •    The 2013 book titled The Science ofDiscworld IV: Judgment Day by Sir Terry Pratchett,
             Ian Stewart and Jack Cohen, a story of wizards traveling between Discworld and
             Roundworld, features a discussion of tardigrades’ capacity to resist radiation. (See
             Hwang Deck ^ 7, Ex. 6).

        •    The fifth season of the television series Adventure Time includes an episode that aired in
             January 2014 involving alien creatures in the Land of Ooo, which features a “Grass
             Bear” character based on a tardigrade that features its eight appendages and unique
             ringed mouth structure. (Hwang Deck ^ 8, Ex. 7).

        •    The non-fiction television series Cosmos: A Spacetime Odyssey presented by Neil
             deGrasse Tyson includes two episodes that aired in March and May of 2014,
             respectively, featuring descriptions of tardigrades’ unique ability to survive in space.
             (See Hwang Deck ^ 9, Ex. 8).


        6 The Court can take judicial notice of such information for the purpose of confirming the
widespread interest in tardigrades among the scientific community. See fin 2 supra. United States v.
Bari, 599 F.3d 176, 180 (2d Cir. 2010) (affirming judicial notice of Internet materials and
explaining that “a judge need only take a few moments to confirm his intuition by conducting a
basic Internet search”).

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       •     Beginning on May 9, 2015 — before Plaintiff posted any of his Tardigrades works on
             the Internet {see Statement of Facts, Section II. A.2 infra) — animator Ian Michael Miller
             posted a series of animated comedic shorts featuring a humanoid space-faring tardigrade
             dubbed “Captain Tardigrade, Defender of the Multiverse” to YouTube. {See Hwang
             Deck H 10, Ex. 9).

Indeed, the idea of tardigrades in connection with the Star Trek franchise was posited by the well-

known publication Scientific American in a 2013 article titled How Tardigrades Saved the

Enterprise (Hwang Deck      U 11, Ex-   10),7 well before Plaintiff created his Tardigrades game concept.

II.    THE PARTIES’ WORKS AND RESPECTIVE DEPICTIONS OF TARDIGRADES

       “In copyright infringement actions, the works themselves supersede and control contrary

descriptions of them ... [and] what is required is only a visual comparison of the works.” Peter F.

Gaito, 602 F.3d at 64 (citations and quotation marks omitted).               Accordingly, the following

descriptions are provided for the Court’s convenience only.

       A.       Plaintiff’s Tardisrades Game Concept

       Plaintiff is the creator of an unreleased but allegedly “greenlit” video game called

Tardigrades — originally titled Epoch — which he posted in the form of “articles, artwork and

audio/video” on a few Websites between May 2014 and July 2017.                    (TAC ]} 9). Plaintiff has

compiled these materials together in a video file with the filename “Exhibit K-H” (the “Video

Compilation”), first showing an approximately 30-minute compilation of 23 separate YouTube

videos (TAC     U   11) with associated YouTube URLs, and then running through approximately 13

additional     minutes     of   video      showing        static   blog   posts     from    the   Websites

https://www.adventuregamestudio.co.uk and http://anas-tronaut.blogspot.com. None of the videos

or blog posts comprising the Video Compilation are alleged to be registered for copyright.

Plaintiffs game concept is allegedly distilled into a treatment annexed as Exhibit A to the TAC (the


        7 See Kyle Hill, How Tardigrades Saved the Enterprise, Scientific American (May 31, 2013)
(opining that Captain Kirk should have used tardigrades to save USS Enterprise in 2013 film Star
Trek: Into Darkness) (available at https://blogs.scientificamerican.com/but-not-simpler/how-
tardigrades-saved-the-enterprise/).

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“2018 Treatment”; DE 49-2). (See TAG ]} 1). Plaintiff registered the 2018 Treatment for copyright

on June 28, 2018 (DE 49-1), after Discovery first aired in September 2017. (TAG 1} 9).

       Together, the Video Compilation and 2018 Treatment comprise the totality of works

Plaintiff claims have been infringed. (TAC      1, 11, 25).

               1.      The 2018 Treatment

       The 2018 Treatment describes a single-player user-driven video game set on a space station

orbiting Jupiter in the year 20,000 BC, when Earth’s civilizations are “about to discover

intergalactic travel.” (2018 Treatment at 1). The treatment anticipates that the video game will

include “a plot twist” and several themes (“slavery, secrecy, and espionage”), but provides no

details concerning the plot or themes. It also includes short vignettes briefly describing seven of the

game’s characters, with no description spanning more than a few sentences. (Id. at 3-6).

       With respect to tardigrades, the 2018 Treatment depicts a blue tardigrade enveloping a man

(the Carter character) on its first and eighth pages, but provides little explanation of tardigrades’

role in the game. In a few pages of comic-book style artwork, a boy is apparently bitten by a

tardigrade, and the 2018 Treatment notes in comic book bubbles that tardigrades can survive in “the

vacuum of open space and solar radiation.” (Id. at 13-15). However, this comic-book artwork

appears nowhere in the Video Compilation of Plaintiff s Internet-posted materials.

               2.      The Video Compilation

       As with the 2018 Treatment, the videos and blog posts contained in the Video Compilation

provide little information concerning the plot elements to be explored in Plaintiffs video game.

Rather, it consists of short, disjointed video teasers and one-off blog posts with no cohesive plot

framework, other than that the game centers on the space station Marsi-3.             The only other

overarching theme running through these materials is that the game will feature pharaonic Egyptian

elements, in keeping with the ancient timeline in which the game is based. For example, the



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Tardigrades logo is “a combination of the water bear posing as the ancient Egyptian scarab holding

a crook and a flail, accessorized with two wings.” (Video Compilation at 40:02). The concept of

Earth’s Egyptian ancestors having been advanced space travelers has of course been extensively

explored in the science fiction genre, including in the Stargate film and television franchise.

       The Video Compilation includes scant depictions of tardigrades in any of the materials

Plaintiff posted on the Internet. As an initial matter, the blog posts (Video Compilation at 29:49-

42:39) feature no tardigrades at all, except as shown in the videos. With respect to the videos, the

first set of 14 videos relate to Plaintiffs original Epoch game concept {id. at 0:00-20:18), none of

which depict any tardigrades.

       Only the final nine (9) videos, lasting a total of less than 10 minutes {id. at 20:19-29:49),

relate to Plaintiffs rebranded Tardigrades game concept. The opening monologue from the first

Tardigrades-rQlaXQdi video {id. at 20:22) takes directly from the opening monologue of the 1984

David Lynch film Dime (based on Frank Herbert’s novel of the same name), with a female narrator

stating: “The beginning is a very delicate time. Know then that it is the year 20,191... ”8 This first

'/ ardigrades-vd ated   video    was    posted     to   YouTube       on    May     16,    2015   {see

https://www.voutube.com/watch?v=BIYbDHt5EfU: Hwang Deck ^ 12, Ex. 11), and posted on

Plaintiffs own blog on May 17, 2015. {See Video Compilation at 39:30).

       In totality, the approximately 10-minute sequence of Tardigrades videos contains only two

short video snippets depicting Plaintiffs tardigrade.

       First, several of the videos depict a small, poorly defined tardigrade fading into the

background, in the same closing sequence snippet that lasts less than one second in each instance

(Video Compilation at 23:24, 24:29, 25:51, 26:40, 28:06, 28:37 and 29:33):




        8 The opening monologue of Dime begins, “The beginning is a very delicate time. Know
then that it is the year 10,191...” {See https://www.voutube.com/watch?v=6H5ieLxUv-0).

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          https://www.youtube.com/watch?v=ylpLIIa_WfM         https://www.youtube.com/watch?v=ylpLIIa_WfM



The earliest of the videos including this snippet (available at the above-referenced URL,

https://www.voutube.com/watch?v=ylpLIIa WfM) was posted to YouTube on July 29, 2015.

(Hwang Decl. ^ 13, Ex. 12).

       Second, in just one of the Tardigrades related videos, there is a 13-second sequence in

which an enlarged blue tardigrade appears behind Plaintiffs Carter character, hugs him from behind

and drifts off into space (Video Compilation at 29:20-33):




                      K                                      https://www.youtube.com/wpyiTtt5ikHgCwM84LY




                       ll
         https://www.youtiSDe.co^^Stch?v = ikHgCwM84LY       https://www.youtube.com/watch?v=ikHgCwM84LY



This “tardigrade-hug” sequence appears only in this single video (available at the above-referenced

URL, https://www.voutube.com/watch?v=ikHgCwM84LY). which was posted to YouTube on July

12, 2017, just two months before Discovery aired. (Hwang Decl. ^ 14, Ex. 13).                     This is the same

sequence depicted on the first and eighth pages of Plaintiff s 2018 Treatment. (TAC, Ex. A).

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       As with the treatment, little information is provided in the Video Compilation concerning

the significance of the tardigrade. Only a single blog post provides any relevant information, noting

the proven scientific facts that tardigrades can “survive extreme conditions of radiation and the

vacuum of space.”      (Video Compilation at 38:49).      Apparently for these reasons, Plaintiffs

tardigrade-hug system works to protect the human occupant while floating through space. Though

this blog post references “space travel,” no mention is made anywhere in the 2018 Treatment or in

any of the materials contained in the Video Compilation that Plaintiffs tardigrade is capable of

“instantaneous” space travel, as incorrectly alleged in the complaint. (TAC ^ 24).

       B.       Defendants’ Star Trek: Discovery Series

       Defendants own the rights to Discovery, the newest addition to the Star Trek franchise.

Discovery tells various interweaving storylines about the adventures of the starship Discovery and

its crew through the 15 episodes of its first season, which aired between September 2017 and

February 2018.9 The series begins with the commencement of a war with the Klingons prompted

by the actions of one of Discovery's main characters, Michael Burnham, a Vulcan-raised human

played by an African-American female. The Klingon war is the underlying thread throughout most

of the season. Later episodes also focus on the starship Discovery’s attempts to escape a mirror

universe in which they have become stranded.

       One of the many storylines enmeshed within these two primary story arcs involves a rescued

creature named Ripper (of a species considered cousin to the Earth-based tardigrades), whose DNA

is used to aid the functioning of the starship Discovery’s experimental “mycelial spore network

drive” space travel technology. The mycelial drive — referred to as the DASH (Displacement

Activated Spore Hub) drive — is an experimental propulsion system that uses mycelial spores as its


       9 These 15 episodes are included in the CDs attached as Exhibit 14 to the Hwang Deck
Because space limitations prevent a full explication of the approximately 11 hours of content
making up these episodes, the description herein focuses on the appearance of the Ripper tardigrade
character in episodes 4 and 5.

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power source. The Federation has discovered a type of fungus called mycelium that has a root

system extending “throughout subspace,” which can theoretically be used as a platform to “jump” to

any location in the universe. Lieutenant Paul Stamets leads the DASH research team aboard the

Discovery, one of two starships equipped with this technology. To power its DASH drive, the

Discovery maintains a large greenhouse full of spore-producing mycelium. However, as described

in episodes 3 and 4, the Discovery is faced with the problem that its experimental drive can only

jump short distances reliably across the spore network, defeating its purpose.

       Ripper, a creature resembling a tardigrade, makes its first appearance near the beginning of

episode 4. (Hwang Deck, Ex. 14, Ep. 104 at 7:30). It was discovered aboard the starship Glenn

(the other ship equipped with DASH technology) when, in episode 3, the Discovery investigates the

Glenn’s destruction and learns that the ship was destroyed by an unidentified creature.         The

audience learns in episode 4 that the creature was Ripper. Assigned by Captain Lorca to study it,

Burnham determines that Ripper — a large greenish-brown animal with four pairs of clawed limbs

and body armor segments with various tentacles — is a cousin of the Earth species tardigrade:




       While everyone else naturally assumes that Ripper is inherently violent (hence the moniker),

Burnham comes to understand that Ripper is a peaceful, sensitive creature and that its acts of

violence have been in self-defense. Burnham deduces through her investigation that Ripper has an

affinity for mycelial spores, a hypothesis she confirms and shares with Lieutenant Stamets. {Id. at


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31:15-35:48). Through further investigation, Burnham and Stamets determine that Ripper was used

by the Glenn crew as the missing link necessary to operate the Glenn’s own DASH drive. {Id.). As

later described in episode 5, Ripper is able to overcome the mycelial spore drive’s limitations

because, “[l]ike its microscopic cousins on Earth, the tardigrade is able to incorporate foreign DNA

into its own genome via horizontal gene transfer. When Ripper borrows DNA from the mycelium,

he’s granted an all-access travel pass.” (Hwang Deck, Ex. 14, Ep. 105 at 20:09-21:01).

       Having made this discovery, Stamets connects Ripper to the DASH drive to facilitate

several mycelial jumps in episodes 4 and 5.      However, Burnham becomes concerned when it

becomes apparent that the jumps are taking an adverse toll on Ripper. After one jump made in an

effort to rescue Captain Lorca from the Klingons, Ripper enters a state of “cryptobiosis,” a process

by which it reduces its body water content to less than 1% and curls up into a self-protective ball

{id. at 29:38-30:50, 42:33-43:00):




       Ripper is depleted and unable to move. With the help of medical officer Hugh Culber,

Lieutenant Stamets’s partner, Burnham convinces Stamets to find an alternative means to run the

drive. Under pressure to save Captain Lorca, Stamets injects himself with Ripper’s DNA and

connects himself to the DASH drive in place of Ripper. After Stamets’s successful jump and

Captain Lorca’s rescue, the Discovery crew learn that they have an alternative means of operating

the mycelial spore drive. At the conclusion of episode 5, Burnham thus releases Ripper into open

space, and Ripper departs through the subspace mycelial spore network. {Id. at 42:08-43:27).


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       Episodes 4 and 5 are the only episodes of the 15-episode series in which Ripper (the only

tardigrade-like creature in Discovery) makes an appearance. As shown in the images above, unlike

Plaintiffs tardigrade, Ripper is not blue, and it is only the mycelial spores in which Ripper at times

appears that are blue. Unlike Plaintiffs tardigrade, Discovery does not employ a tardigrade-hug

method, but rather uses the tardigrade’s DNA to navigate a universal subspace mycelial spore

network that has no analog in Plaintiffs work.

       In sum, other than the common use of a tardigrade, the only “similarities” that exist between

the tardigrade as depicted in episodes 4 and 5 of Discovery and in Plaintiffs 13-second clip (Video

Compilation at 29:20-33) is that both tardigrades are enlarged and can move through space. Space-

faring tardigrades — including enlarged fictional tardigrades — are, of course, not original to

Plaintiff. {See Hwang Deck, Exs. 1-10).

III.   PLAINTIFF’S OTHER ALLEGED “SIMILARITIES”

       In addition to the common use of an enlarged space-faring tardigrade, Plaintiff identifies a

few other purported “similarities” alleged to exist between his works and random elements plucked

from the approximately 11 hours comprising Discovery's first season.         These are identified in

paragraphs 27-30 of the TAC, and in Exhibit B (DE 49-3) and Exhibit I (a video file) annexed to the

TAC. In their entirety, these “similarities” are as follows:

       •    Uniforms: Plaintiff claims the uniforms depicted in the parties’ respective works are
            substantially similar because they have similar colors — including, for example, white
            for the medical officers — and because the space suits used in the parties’ works both
            have “egg-shaped” helmets. (TAC fflf 30, 30(k); Ex. I at 4:21-5:06).

       •    Stock Character Elements: Plaintiff claims that the works share substantially similar
            characters in having: (i) a “Blond White Male” who works in the field of biology (in
            different fields); (ii) a “darker complexion homosexual male with black hair” and facial
            hair (of different ethnic backgrounds); (iii) an African-American female; and (iv) a
            redhead. (TAC 30(a-e); Ex. I at 1:46-2:42).

       •    Homosexual Relationship: Plaintiff claims that Discovery wrongfully portrays a
            homosexual male relationship because his game concept also includes a homosexual
            male relationship. (TAC ]} 29; Ex. I at 2:43-3:11).


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       •    Floating Dots Surrounding Man: Plaintiff claims that Discovery is similar to his
            Tardigrades game concept because, in one video sequence, Stamets appears in the
            Discovery’s mycelial spore chamber surrounded by floating mycelial spores, while in
            Plaintiffs work his Carter character is depicted as floating in a dotted blue orb. (TAC
            27, 30(h); Ex. I at 0:00-0:15). Plaintiffs works provide no explanation as to what this
            blue orb represents, and Plaintiff makes no claim that it is comprised of mycelial spores.
            The claimed similarity thus amounts to nothing more than the common portrayal of a
            man surrounded by blue and white dots (one sitting in a chamber, the other floating in
            space).

       •    “Ethereal” Travel: Plaintiff claims Discovery is similar to his Tardigrades game concept
            because both depict individuals traveling “ethereally” in space. (TAC ^ 30(i-j); Ex. I at
            3:12-4:20). In Discovery, Burnham uses headgear to “travel” across 1,000 light years in
            mind only, through a special form of Vulcan mind-meld, whereas in Plaintiffs work a
            shimmering character (apparently Carter) is simply walking on hexagonal stepping
            stones situated without explanation in a space-based “astro-plain.”

            Apparently to manufacture the appearance of similarity, Plaintiff further claims that his
            character enters this “astro-plain” by donning head gear like Burnham (TAC ^ 30(j); Ex.
            I at 3:33-3:43). But a review of Plaintiffs own materials shows that Plaintiff has
            combined two unrelated video “gif’ files that appear separately in his blog posts — one
            showing his character donning headgear, and a separate video depicting the “astro-plain”
            walk. (See Video Compilation at 32:58 and 33:06). In other words, the video showing
            his character donning headgear is not, in fact, associated with the “astro-plain” walk.10

       •    Ship-Based “Emitter”: Plaintiff claims that Discovery wrongfully uses the word
            “emitter” to describe a ship-based emitter, because his work also contains a ship-based
            emitter that is also called an “emitter.” (TAC ^ 30(f); Ex. I at 0:16-1:04).

Together, these are all of the purported “similarities” Plaintiff is able to identify between the

voluminous set of materials comprising his Video Compilation (and 2018 Treatment) and the

approximately 11 hours of Discovery'% first season.

                                            ARGUMENT

I.     PLAINTIFF’S COPYRIGHT CLAIMS SHOULD BE                                   DISMISSED          WITH
       PREJUDICE FOR LACK OF SUBSTANTIAL SIMILARITY

       Plaintiff asserts three “causes of action” for copyright infringement, each based on the same

alleged infringement, but seeking the separate remedies of a “Permanent Injunction” (First Cause of


        10 Plaintiff s juxtaposition of unrelated videos is confirmed by visiting the blog posts
identified in the relevant portions of the Video Compilation directly. See
https://www.adventuregamestudio.co.uk/forums/index.php?topic=50444.540;
https://www.adventuregamestudio.co.uk/forums/index.php?topic=50444.600).

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Action); “Actual Damages” (Second Cause of Action); and “Attorney’s Fees and Costs” (Third

Cause of Action).    These effectively constitute a single claim for copyright infringement, and all

fail for the same reason: the parties’ works are not substantially similar as a matter of law.

       A.      The Substantial Similarity Test

       To establish a claim of copyright infringement, “two elements must be proven:

(1) ownership of a valid copyright, and (2) copying of constituent elements of the work that are

original.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). With respect to the

second element, a plaintiff must prove not only that “the defendant has actually copied the plaintiffs

work,” but also that “the copying is illegal because a substantial similarity exists between the

defendant's work and the protectible elements of plaintiffs.”11 Peter F. Gaito, 602 F.3d at 63

(emphasis added). Thus, in making the substantial similarity determination, courts in the Second

Circuit apply the “more discerning” ordinary observer test in cases where, as here, a plaintiffs work

contains both protectable and unprotectable elements. This test requires the Court “to extract the

unprotectible elements from ... consideration and ask whether the protectible elements, standing

alone, are substantially similar” to the allegedly infringing work. Id. at 66 (emphasis added).

        “It is ‘a principle fundamental to copyright’ law that ‘a copyright does not protect an idea,”’

Williams v. Crichton, 84 F.3d 581, 587 (2d Cir. 1996) (citation omitted), only an author’s original

expression of that idea. Similarly, “copyright law does not protect facts, including scientific facts,

because they do not owe their origin to an act of authorship.” Perry v. Mary Ann Liebert, Inc., 2018

U.S. Dist. LEXIS 93513, *14 (S.D.N.Y. June 4, 2018) (citation and quotation marks omitted),

reconsideration denied by, 2018 U.S. Dist. LEXIS 107742 (S.D.N.Y. June 26, 2018); see also, e.g.,

Hoehling v. Universal City Studios, Inc., 618 F.2d 972, 979 (2d Cir. 1980) (each defendant “had the


       11 For purposes of this motion only, Defendants do not challenge access to Plaintiffs works
and actual copying thereof. See, e.g., Peter F. Gaito, 602 F.3d at 63 (explaining that, “for purposes
of defendants' motion to dismiss, the district court assumed (as do we) that actual copying by
defendants occurred,” and affirming dismissal for lack of substantial similarity).

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right to avail himself of the facts contained in Hoehling's book and to use such information, whether

correct or incorrect, in his own literary work.”). “[A]lso unprotectible are scenes a faire, which [the

Second Circuit has] described as sequences of events which necessarily follow from a common

theme,” as well as “incidents, characters or settings which are as a practical matter indispensable, or

at least standard, in the treatment of a given topic.” Nobile v. Watts, 2018 U.S. App. LEXIS 27068,

at *3 (2d Cir. Sept. 21, 2018) (citation and quotation marks omitted). In other words, under the

scenes a faire doctrine, copyright protection does not extend to “‘stock’ themes commonly linked to

a particular genre.” Walker v. Time Life Films, Inc., 784 F.2d 44, 50 (2d Cir. 1986).

       In effect, “the discerning observer test instructs that similarities attributable to [such]

unprotectible elements may as well not be similarities at all.” Canal+ Image UK, Ltd. v. Lutvak,

773 F. Supp. 2d 419, 440 (S.D.N.Y. 2011).       After extracting such unprotectible elements, courts

ask whether the “works as a whole [are] substantially similar,” Williams, 84 F.3d at 590, by

examining “similarities in such aspects as the total concept and feel, theme, characters, plot,

sequence, pace, and setting... ” Id. at 588.

       Applying these standards, courts in this Circuit routinely dismiss copyright claims on the

pleadings where a comparison of the works at issue shows that “the similarity between two works

concerns only non-copyrightable elements of the plaintiffs work, or [that] no reasonable jury,

properly instructed, could find that the two works are substantially similar.” Peter F. Gaito, 602

F.3d at 63 (citations and quotation marks omitted); see also, e.g, Nobile v. Watts, 2018 U.S. App.

LEXIS 27068, at *6-7; Kaye, 297 F. Supp. 3d at 371-72 (Schofield, L); Dean v. Cameron, 53 F.

Supp. 3d 641, 650-51 (S.D.N.Y. 2014); Hallford v. Fox Entm't Grp., Inc., 2013 U.S. Dist. LEXIS

19625, at *19 (S.D.N.Y. Feb. 13, 2013); Alexander v. Murdoch, 2011 U.S. Dist. LEXIS 79503, at

*3-4 (S.D.N.Y. July 14, 2011), ajf’d, 502 F. App’x 107 (2d Cir. 2012); DiTocco v. Riordan, 815 F.

Supp. 2d 655, 666 (S.D.N.Y. 2011), ajf’d, 496 F. App’x 126 (2d Cir. 2012).



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       B.       There Are No Substantial Similarities Between the Discovery Series and the
                Protectable Elements of Plaintiff’s Game

                 1.     Plaintiff Does Not Own the Basic Concept of an Enlarged Space-
                        Traveling Tardigrade

       Distilled against the parties’ actual works (Peter F. Gaito, 602 F.3d at 64), the crux of

Plaintiffs copyright claims (TAC        24, 26) amounts to the contention that Discovery's Ripper

character infringes on his purportedly “novel” use of a space-faring tardigrade in the only depictions

appearing in his works: the less-than-one-second sequence of a tardigrade fading into space (e.g.

Video Compilation at 23:24) was first posted to the Internet on July 29, 2015 (Hwang Deck, Ex.

12), and the 13-second clip depicting the tardigrade-hug sequence (Video Compilation at 29:20-33)

that was first posted on July 12, 2017 (Hwang Deck, Ex. 13). That fundamental premise fails

completely.

       As an initial matter, a visual comparison of the parties’ works shows that any similarities

that do exist are based on the real-world tardigrade, a creature with eight appendages and a uniquely

round mouth:

        Actual Tardigrade                 Plaintiffs Tardigrade           Discovery's Ripper




The scientific fact that tardigrades have these characteristic features is not subject to copyright

protection, for the fundamental reason that they are not original to Plaintiff. See, e.g., Perry, 2018

U.S. Dist. LEXIS 93513, at *14 (“copyright law does not protect facts, including scientific facts,

because they do not owe their origin to an act of authorship”) (citation and quotation marks

omitted).     More directly, “the characteristics of an object as it occurs in nature ... are not



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protectable.” Psihoyos v. Nat'I Geographic Soc'y, 409 F. Supp. 2d 268, 275 (S.D.N.Y. 2005); see

also Folio Impressions, Inc. v. Byer California, 937 F.2d 759, 765-66 (2d Cir. 1991) (no

infringement of rose design because “by the rose’s very nature one artist’s rendering of it will

closely resemble another artist’s work”).

        Beyond the unprotectable physical characteristics of actual tardigrades, the obvious

differences between the tardigrades’ depictions becomes apparent upon a review of the parties’

works, and overwhelm any other similarities that might exist (Plaintiff identifies none).            See

Silberstein v. John Does 1-10, 242 F. App'x 720, 722 (2d Cir. 2007) (no substantial similarity

between squirrel like characters called “Sqrat” and “Scrat,” because “[plaintiffs] Sqrat is a rather

crudely drawn two-dimensional, monochromatic, static character, whereas defendants’ Scrat is

portrayed as existing and moving in three dimensions, and his fur, nose, eyes, mouth, and

extremities are rendered in lifelike detail and realistic color and shade” in defendant’s film) (citation

and quotation marks omitted); Eden Toys, Inc. v. Marshall Field & Co., 675 F.2d 498, 500 (2d Cir.

1982) (no infringement where “any similarity between [the parties’ snowmen] would appear to the

ordinary observer to result solely from the fact that both are snowmen”).

            Once these unprotected public domain elements are extracted from the analysis, all that

remains of this purportedly central “similarity” is that the parties have enlarged the tardigrade and

given it the ability to travel in its well-documented space environment. Neither of these adaptations

are original to Plaintiff either, as both enlarged tardigrades {see, e.g, Hwang Deck 1} 6, Ex. 5

(excerpts from 2010 children’s novel The Search for WondLa)) and space-traveling tardigrades {see,

e.g., id.      10, Ex. 9 (also available at https://www.youtube.coin/watch9v=OUrz4CtGuOM)) have

been featured in third-party works well before Plaintiff posted his 13-second clip in July 2017,

including the following:




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             O YouTube                       Search




           Captain Tardigrade
           123,011 Views                                   iff 4.3K   40   A SHARE    ^4- SAVE



                   Ian Miller
                                                                                     SUBSCRIBE 45K
                   Published on May 7,2015




       But even ignoring these preexisting works entirely, and assuming that Plaintiff had been the

first to come up with the idea of an enlarged space-traveling tardigrade (he was not), the

enlargement of the tardigrade is the only — and, at the least, a predictable — way to render any

microscopic creature a viable character in a visual work, and is not protectable. See, e.g., Ollie v.

Domino's Pizza, Inc., 1997 U.S. Dist. LEXIS 12781, at *11-12 (S.D.N.Y. Aug. 22, 1997) (“the

humanizing of a domino is an idea not subject to copyright protection”); Green v. Proctor &

Gamble, Inc., 709 F. Supp. 418, 421 (S.D.N.Y. 1989) (“the idea of characterizing oral bacteria as

humanoid ‘cavity makers’ is hardly protectible”). Similarly, the basic idea of giving the tardigrade

the ability to travel in space is a natural and predictable extension of tardigrades’ unique and well-

known (and, of course, uncopyrightable) ability to survive unprotected in space, and is also not

owned exclusively by Plaintiff. See, e.g., Williams, 84 F.3d at 589 {Jurassic Park not substantially

similar to plaintiffs book series where works “share[d] a setting of a dinosaur zoo or adventure

park, with electrified fences, automated tours, dinosaur nurseries, and uniformed workers” and “in



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both works the characters spend the night in the dinosaur zoo and escape from dangerous dinosaurs

by helicopter through the combined wit of the children and adults,” because these were “classic

seems a faire that flow from the uncopyrightable concept of a dinosaur zoo”); Kaye, 297 F. Supp.

3d at 367 (Schofield, J.) (dismissing copyright claim where parties’ works shared “core similarity”

of “characters associated with magical gems” from space); Dean v. Cameron, 53 F. Supp. 3d at

648-49 (“Suspending a landmass is a predictable — if not common — way to make a vista more

sweeping, breathtaking, and fantastical, and is plainly subject to both the principle that ideas are not

protected and the doctrine of scenes a faire").

       In short, there is no actionable similarity based on the common use of a tardigrade in the

parties’ works.

                  2.   None of the Other Random “Similarities” Identified by Plaintiff Are
                       Actionable

       Plaintiffs random assortment of other identified “similarities” fares no better.

       First. Plaintiffs claim that his uniforms have been infringed by Discovery's uniforms

because they “delineate status rank, etc.” (TAG U 30) is, frankly, absurd. The Star Trek franchise

has a long history of depicting uniforms that “delineate status rank, etc.” and, if that were

infringement, it is Plaintiff who is the infringer.12 In any event, it is not actionable. See, e.g.,

Williams, 84 F.3d at 589 (no substantially similar where parties’ works featured “uniformed

workers” at dinosaur zoo).

       Second. Plaintiffs claimed character similarities and common depiction of a homosexual

relationship are equally unavailing. “The bar for substantial similarity in a character is set quite

high.” DiTocco, 815 F. Supp. 2d at 667 (citation omitted). Here, the claimed similarities amount to

a “Blond White Male” who works in biology, a “darker complexion homosexual male with black

hair” and facial hair, an African-American female, and a redhead. (TAG           30(a-e); Ex. I at 1:46-


       12 See, e.g, https://en.wikipedia.org/wiki/Star Trek uniforms.

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2:42).   Such stock elements are unprotectable, and courts have routinely rejected character

infringement claims where far greater similarities existed. See, e.g., Hogan v. DC Comics, 48 F.

Supp. 2d 298, 311-12 (S.D.N.Y. 1999) (no infringement where two characters had same name and

were both half-vampire and half-human, of similar age, and shared other characteristics such as

“thin-to-medium builds, pale skin, dark messy hair and a slovenly appearance”); Lewinson v. Henry

Holt & Co., LLC, 659 F. Supp. 2d 547, 567-68 (S.D.N.Y. 2009) (noting rhetorically that, “[i]f a

[stock character such as a] drunken old bum were a copyrightable character, so would be a drunken

suburban housewife, a gesticulating Frenchman, a fire-breathing dragon, a talking cat, a Prussian

officer who wears a monocle and clicks his heels, [and] a masked magician...”) (citation omitted);

Alexander v. Murdoch, 2011 U.S. Dist. LEXIS 79543, at *31 (S.D.N.Y. May 27, 2011) (rejecting

contention that characters were “substantially similar because each is ‘a stunningly beautiful, fiery,

temperamental, Latina mother, with a thick accent, who's in love with her Caucasian [ex­

husband/husband] and always makes him do the right thing, especially where her son is

concerned’”), adopted by, 2011 U.S. Dist. LEXIS 79503 (S.D.N.Y. July 14, 2011).13




        13 Plaintiff also attempts to mix and match character attributes to manufacture similarities.
For example, he claims that Discovery's homosexual astromycologist Lieutenant Stamets is
“similar” to his Carter character because both are biologists (TAC ]} 30(a)); to his Ty character
because both are homosexual (id. 1} 29; 2018 Treatment at 4-5 (description of Ty)); and then to his
Maciek character, who is not described as homosexual in his 2018 Treatment (at 6) but has morphed
into being homosexual in the TAC’s collection of random similarities (TAC, Ex. B at 2), apparently
because he is closer to appearance to Lieutenant Stamets. Indeed, in his Exhibit B, Plaintiff appears
to falsely characterize a picture of Macieck violently confronting Aziz as reflecting intimacy
between them. In any case, such composites do nothing to support Plaintiffs claim of character
similarity. See, e.g., Kaye, 297 F. Supp. 3d at 369 (mixing and matching of character attributes “is
unpersuasive as the image above labeled ‘ Ampho’ is actually Dr. Joules, who possesses no magical
powers. The more apt comparison is between Amphoman (Dr. Joules when transformed by his
gem) and Steven, who bear no resemblance to each other.”); Morris v. Wilson, 189 F. Supp. 565,
569 (S.D.N.Y. 1960) (rejecting plaintiffs claim that defendant “combined traits of two, three or
more of her characters into a composite character in their play and employed ‘evasive variation and
coloration in order to veil the plagiarism’”), aff’d, 295 F.2d 36 (2d Cir. 1961).

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       Third, the other “similarities” — floating dots, ethereal travel and use of the term “emitter”

(see Statement of Facts, Section III supra) — either do not exist in the actual works14; constitute

generic unprotectable ideas15; and, to the extent any similarities do exist, are the very type of de

minimis, ^/substantial and “random similarities scattered throughout the works” that “cannot

support a finding of substantial similarity because it fails to address the underlying issue: whether a

lay observer would consider the works as a whole substantially similar to one another.” Williams,

84 F.3d at 590 (citation and quotation marks omitted). Even limiting the analysis to the selectively

plucked sequences in Discovery that Plaintiff identifies, the total concept and feel of these

sequences is entirely ^similar to Plaintiffs work when considering the contextual plotlines in

which these sequences occur. See, e.g., Hayuk v. Starbucks Corp., 157 F. Supp. 3d 285, 292

(S.D.N.Y. 2016) (“[I]n applying the substantial similarity test, [Second Circuit courts] have found

certain similarities to exist as to portions of an allegedly infringing work, but nonetheless held that

substantial similarity did not exist because of overwhelming dissimilarities in the works when

compared in ‘total concept and overall feel’”) (citation omitted); Warner Bros., Inc. v. ABC, 720

F.2d 231, 241 (2d Cir. 1983) (with respect to “graphic and three-dimensional works” in particular,



      14 As noted herein (Statement of Facts, Section III), for example, the use of headgear to enter
what Plaintiff refers to as a state of “ethereal” travel has been manufactured by Plaintiff, by
combining two separate and unrelated video files from his blog posts.
         15 For example, floating blue dots are commonly used in science fiction to depict strange
phenomena in space. The following is just one example from the SYFY series The Expanse that
first aired in November 2015, depicting the blue “protomolecules” at the center of the series (see
https://screenrant.com/the-expanse-svfv-protomolecule-explained-answers/):




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“dissimilarities between two works of this sort inevitably lessen the similarity that would

otherwise exist between the total perceptions of the two works”). When considered in the context

of the “works as a whole,” as courts are instructed to do, it becomes even more clear that these

“similarities” are utterly trivial when comparing the absence of any coherent plotline in Plaintiffs

work to the richly developed and varied stories running through the approximately 11 hours of

Defendants’ allegedly infringing series.    See, e.g., Green v. Harbach, 2018 U.S. Dist. LEXIS

113608, at *18 (S.D.N.Y. July 9, 2018) (“despite whatever facial similarities Plaintiff may point to,

there is little in common between how the two ... scenes function in each novel’s respective plot.

Any similarities are either not copyrightable abstract ideas, or, when understood in context, not

actually similar”), aff’d, 2019 U.S. App. LEXIS 3633 (2d Cir. Feb. 6, 2019).

       All of Plaintiff s copyright claims fail for this fundamental reason, and should be dismissed.

II.    PLAINTIFF’S  COPYRIGHT   CLAIMS  AGAINST  NETFLIX   ARE
       INDEPENDENTLY BARRED BECAUSE THE COPYRIGHT ACT DOES NOT
       APPLY EXTRATERRITORIALLY

       Plaintiffs copyright claims with respect to Netflix’s international distribution of Discovery

are barred for the additional reason that Plaintiff fails to allege any predicate acts of infringement

occurring within the United States.

       It is settled that “[t]he U.S. Copyright Act does not have extraterritorial application, and

district courts do not have subject matter jurisdiction over infringement occurring outside of the

United States.” Levitin v. Sony Music Entm't, 101 F. Supp. 3d 376, 384-85 (S.D.N.Y. 2015). The

sole exception is when the defendant engages in a “predicate act” within the United States in

furtherance of extraterritorial acts of infringement, but “[t]he clear governing legal rule is that the

predicate act occurring in the United States must itself constitute infringement under the Copyright

Act.” Id. at 385 (citation and quotation marks omitted); see also Roberts v. Keith, 2009 U.S. Dist.




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LEXIS 101412, at *10 (S.D.N.Y. Oct. 23, 2009) (“For the exception to apply, a plaintiff must show

that the conduct (1) took place in the United States and (2) was in violation of the Copyright Act.”).

       Plaintiff fails to allege any such infringing predicate act in the United States by Netflix. The

sole allegation concerning Netflix is that it “stream[s] the infringing work internationally” and, in

the United States, that it obtained a license from CBS for such international distribution rights.

(TAC If 8). But the mere entry of a license agreement in the United States is not an infringing act,

and thus does not constitute the required predicate act necessary to render Netflix’s international

distribution actionable. See, e.g., Levitin, 101 F. Supp. 3d at 385 (rejecting argument that the mere

“authorization [in the United States] of copyright infringement abroad constitutes a predicate act in

violation of the Copyright Act)”); Fun-Damental Too, Ltd. v. Gemmy Indus. Corp., 1996 U.S. Dist.

LEXIS 18653, at *18 (S.D.N.Y. Dec. 16, 1996) (“mere authorization and approval [in the United

States] of copyright infringements taking place outside the United States is not a copyright violation

and does not create jurisdiction over those extraterritorial acts”).      Netflix can and should be

dismissed from this action for this reason alone.

III.   PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES INDEPENDENTLY FAILS
       BECAUSE    PLAINTIFF’S COPYRIGHT  REGISTRATION  POSTDATES
       DEFENDANTS’ DISCOVERY SERIES

       Plaintiffs claim for attorneys’ fees pursuant to section 505 of the Copyright Act

independently fails because all of the allegedly infringing episodes of Discovery aired before the

effective date of registration of the 2018 Treatment, the only work Plaintiff has registered.

       The Copyright Act expressly provides that “no award of statutory damages or of attorney’s

fees, as provided by sections 504 and 505, shall be made for . . . any infringement of copyright

commenced after first publication of the work and before the effective date of its registration, unless

such registration is made within three months after the first publication of the work.” 17 U.S.C. §

412(2) (emphasis added). Here, the effective registration date of the 2018 Treatment is June 28,



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2018 (TAC, Ex. A), more than three months after the stated first publication of Plaintiff s works in

July 2017 {id.), and after Discovery first aired in September 2017 and concluded in February 2018.

“Even ‘[w]here the alleged infringement begins before registration and continues after registration,

statutory damages and attorney fees are still unavailable.’” Solid Oak Sketches, LLC v. 2K Games,

Inc., 2016 U.S. Dist. LEXIS 101119, at *5 (S.D.N.Y. Aug. 2, 2016) (citation omitted).

Accordingly, Plaintiffs claim for attorneys’ fees is barred. See, e.g., id.', Davis v. Gap, Inc., 246

F.3d 152, 158 n.l (2d Cir. 2001).

IV.    PLAINTIFF’S CLAIM FOR AN ACCOUNTING FAILS AS A MATTER OF LAW

        Plaintiffs claim for an accounting fails for two independent reasons. First the law is settled

that “claims for accounting based on the defendant's alleged misappropriation and exploitation of

a copyrighted work are preempted by the Copyright Act.” Baiul v. NBC Sports, 2016 U.S. Dist.

LEXIS 52291, at *33 (S.D.N.Y. Apr. 19, 2016) (dismissing accounting claim as preempted), aff’d,

708 F. App’x 710 (2d Cir. 2017); see also, e.g., Weber v. Geffen Records, 63 F. Supp. 2d 458, 462-

63 (S.D.N.Y. 1999) (same). Second, and independently, under New York law, “[t]he right to an

accounting is premised upon the existence of a confidential or fiduciary relationship and a breach of

the duty imposed by that relationship respecting property in which the party seeking the accounting

has an interest.” Baiul, 2016 U.S. Dist. LEXIS 52291, at *46-47 (citation omitted). Plaintiff does

not and cannot allege any fiduciary relationship between him and Defendants. Id. (dismissing

accounting claim where fiduciary relationship was not alleged).

                                          CONCLUSION

        For all of the foregoing reasons, Defendants respectfully request that the TAC be dismissed

in its entirety, with prejudice.




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Dated: New York, New York
       February 12, 2019

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